       Case 4:06-cr-00053-JLH        Document 182        Filed 09/20/07     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                   No. 4:06CR00053(4)(5) JLH

HANAN HASAN and
SAHAR ALABED KATTOM                                                              DEFENDANTS


                                           ORDER

       The government made an oral motion to dismiss the indictment against separate defendants

Hanan Hasan and Sahar Alabed Kattom in open court on September 19, 2007, so that these

defendants can be placed in pretrial diversion. Good cause having been shown, the motion is

granted. The indictment is dismissed without prejudice as to these defendants.

       IT IS SO ORDERED this 19th day of September, 2007.




                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
